         CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 1 of 11
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STATE OF MINNESOTA                                                         IN DISTRICT COURT. CIVL

COUNTY OF OLMSTED                                                           THIRD ruDICIAL DISTRICT
                                                                              Court File No,:
Peter L. Elkin and Margaret Elkin,                                                  Type of Case: Contract

                  Plaintiffs,
          v,                                                                  AMENDED COMPLAINT

State Farm Insurance Company and
Minnesota Energy Resources Corporation

                  Defendants.




          Plaintiffs, Peter L. Elkin, M.D. and Margaret Elkin, for their Amended Complaint against

the Defendants, State Farm Insurance Company and Minnesota Energy Resources Corporation,

states and alleges as   follows:

                                     G.ENERAL .ALLEGATIOIYS

    l.    Plaintiffs, Peter L. Elkin, M.D, and Margaret Elkin, are residents New York City, New

          York.

   2,     On information and belief, Defendant State.Farm Insurance Company ("State Farm") is a

          foreign oorporation oonducting business as an insruance company in Minnesota and is

          licensed by the State of Minnesota to sell policies of home insurance to residents      of

          Mimesota,

   3.     On information and belief, Defendant Minnesota Energy Resources Corporation

          (,,MER'I; is a Minnesota corporation, doing business as a supplier of natural gas.

   4.     At dll relevant times, Plaintiffs owned   a home   st   1227 6fi Street   SW, Rochester, MN

          55902   ("Plaintiffs' Home")'

   5.     Plaintiffs had contracted with MER to supply natural gas to the Plaintiffs' Home..
          CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 2 of 11




     6.    Plaintiffs had contracted with State Farm to provide homeowner's insurance
                                                                                      for
           Plaintiffs Home, pursuant to a policy identified by policy number 23-LN-661T-3

           ("Policy"), A true and corect copy of the policy is attached as Exhibit
                                                                                   A.
     7,    In 2009, Plaintiffs listed their home for sale.

     8.    Plaintiffs moved to New York State and,     as a result,   Plaintiffs' Home was vacant

           beginning in January 2010,

 9.        Plaintiffs, contemporaneously with their move, filed a change of address form with the

           United States Postal Service.

 10. Despitc       filing the change of address form, through no fault of their own, plainriffs did not

          receive billing statements from MER in January or February of 2010..

 I   I'   As a result, Plaintiffs accrued an overdue balance on their aecount with MER.

12. Upon receiving a statement from MER,             Plaintiff Margaret Elkin called MER to update

          Plaintiffs billing address, and to make a payment plan regarding the past due to bring the

          account up to date and prevent MER from shutting       offthe natural   gas supBly to

          Plaintiffs' Home ("Payment Plan Call')

13. During the Payment Plan Call, MER agreed to the proposed payment plan and
                                                                              4ccepted a

          payment over the phone.

14. Plaintiffs complied       with their payment obligations and had paid all the past due amounts

      prior to issuance of the May billing statement from MER.

15. Unbeknownst to         Plaintiffs, some time in approximately March of 2010, MER shut offthe

      natural gas service to Plaintiffs' Home.

16. MER failed to       properly notiry Phintiffs that MER shut off the natural gas service to

      Plaintiffs'Home.
  CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 3 of 11




 17. From   April 2010 through December 2010, Plaintiffs received billing   statements for

    natual gas service from MER, even though, unbdknownst to Plaintiffs, MER was not

    supplying gas to the house.

 18. During this time,   Plaintiffs continued making regular payments to MER, in response to

    billing staternents sent by MER.

19. During the time   Plaintiffs' Home was vacant, Plaintiffs enlisted their neighbors, Ethan

    Carlson and Brian Carlson, to conduct regular and at least weekly checks on Plaintiffs'

    Home and perform basic maintenance tasks. In addition, Plaintiffs' had asked their

    realtor, Shawn Buryskq to watch the house.

20. During thc summcr of 2010, Plaintiffs reccived a notice from MER regarding

    constuction in the area of Plaintiffs' Home that may cause an intemrption to the       gas


    service.

21. Following recsipt of the aforementioned notice, Plaintiffs contacted MER by telephone

   to determine whether Plaintiffs' Home would be affected ("Summer Call").

22. During the Summer Call, MER informed Plaintiffs that PlaintifFs' Home would not

   experience a service intemrption.

23. During the Summer Call, MER did not inform Plaintiffs that MER had shut         offthe   gas


   service to Plaintiffs' Home.

24. During approxlmately the week ofNovember 15, 2010,       Plaintiffs realtor,   Shawn

   Buryska, contacted Plaintiffs regarding the temperature getting cold in Rochester MN.

25, During approximately the week of November 15, 2010, Plaintiffs contacted MER by

   telephone (the   "Mid November Ca[') to confirm there were no problems with        the gas


   service to   Plaintiffs' Home.
     CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 4 of 11




 26. During the     Mid November Call, MER informed Plaintiffs that "if you're receiving bills,

 ,     YoY gas service is on."

 27, During the     Mid November Call, MER did not inform Plaintiffs that MER had shut offthe

      gas service to   Plaintiffs' Home.

28' On or about November 27,2010, Shawn Buryska, called Plaintiffs to notifi them that

      Plaintiffs' Horne seemed cold.

29, As a result of the call from Mr. Buryska, on November 27,201.0, Plaintiffs contacted

      Brian Carlson to check on the heat at Plaintiffs' Home.

30, On November 27,2010, Brian Carlson called Plaintiffs to         notiff them that he discovered

      that the natural gas supply to the house was shut off.

3I   . On November 27 , 2010, a Saturday, Plaintiffs called    MER's Emergency number

      ("Emergcncy Call") to inquire as to why the gas service was offand requested that MER

      immediately restore gas service to Plaintiffs' Home.

32,Inresponse to the Emergency Call, MER told Plaintiffs to follow up with Customer

      Service during regular business hours on a weekday, however, MER took no action io

     restore gas service to    Plaintiffs' Home.

33, On Tuesday, November 30, 2010, Plaintiffs called MER's customer service number

     ('Customer Service Call") to inquire abogt the gas service and confirmed that the service

     was still   off. During   the Customer Service Call, the following items were discussed:

         a.   Plaintiffs requested that MER immediately restore gas sewice to Plaintiffs'

              Home;

        b.    Plaintiffs inquired as to why the gas servicc to Plaintiffs' Homc was not already

           .on;
  CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 5 of 11




      ' c. IvIER informed Plaintiffs that the natural gas supply to the Plaintiffs' home had
              been shut   offin March   2010 for non-payment;

         d.   MER confirmed that Plaintiffs' account was current;

         e.   MER agreed to promptly restore natural gas senrice to Plaintiffs' Home.

 34. Plaintiffs' realtor checked on the home on November 30,2010 and noted that the horne

     was inorder, but remained cold,

 35. MER did not restore gas service to Plaintiffs' Home during November of 2010.

 36. Temperatures in Robhester MN dropped significantly between November 30,2010, and

    December 1,2010.

 37. On December    l, 2010, Shawn   Buryska, or a member of his team, again checked on the

    Plaintiffs' home, and discovered that a water pipe had burst (hereafter the pipe bursting,

    and the resulting water damage shall be refened to as the "Event").

38. On December l, 2010, Shawn Buryska called Plaintiffs to       notif   them of the Event.

39. As a result of the Event, Plaintiffs' Home incuned substantial damage which has been

    estimated to cost several hundred thousand dollars to repair.

       couNT I BREACH O4I:ONTRACT                    AS AGAINST STATE FARM
                   =
40, Plaintiffs reallege and incorporate by reference herein Paragraphs      I through   39 of the

    General Allegations of this Complaint as and for Paragraph 40 of this Count I.

41, On all relevant dates in November 2010, through and including the date of the Event, the

   Policy was in full force and effect.

42. Plaintiffs timely submitted a claim on the Policy regarding the Event to State Farm.

43. Plaintiffs substantially complied with their duties wrder the Policy.

44. Following an investigation, State Farm denied eoverage under the Policy and refused to
  CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 6 of 11




        provide full coverage to the plaintiffs.

 45. State Farm's failure to provide coverage constitutes a breach of,contract.

 46. As a result    of State Farm's breach of contract, Plaintiffs have been damaged in an amount

       in excess of $50,000.00.

                    co{.rNTrJ,: BREACH OF CONTRACT AS AGATNST
                            MTTYNESOTA ENERGY RESOURCEq

 47. Plaintiffs reallege and incorporate by reference herein Paragraphs     I through    39 of the

       General Allegations of this Complaint as and for Paragraph 47 of this Count II.

 48. Throughout 2010, tfuough and including the date ofthe Event, Plaintiffs had a valid and

       enforceable contract with MER for the supply of natural gas to Plaintiffs, Home.

49, Plaintiffs substantially complied with their duties under the contract.

50. MER breached its contract with Plaintiffs by failing to supply     Plaintiffs' Home with

      natwal gas.

51. As a result of   MER's breach of contract, Plaintiffs were damaged in an amount in         excess

      of $50,000,00, plus such attorney's fees and costs as allowed by the contract, or by law.

COTNT       III-   NEGLIGENCE AS.AGAINST MINNESOTA ENPRGYSPSOURCES

52. Plaintiffs reallege and incorporate by reference herein Paragraphs     I through 39 of the
      General Allegations of this Complaint as and for Paragraph 52 of this Count       III.

53.   At all times mentioned, and particularly and specifically, in 2010, through and including

      the date of the Event, MER had a duty to Plaintiffs, to supply natural gas to Plaintiffs'

      Home.

54. MER breached said duty by one or more of the following acts, any one of which was

      negligent:

         a.   By shutting off the natural gas supply to Plaintiffs' Home, at some point in 2010,
   CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 7 of 11




                  prior to the Event;

            b.    By failing to properly notifi plaintiffs that MER shut offthe gas
                                                                                    suppry;

            c'    By agreeing to a payment plan with Plaintiffs, and failing to
                                                                                continue to provide
        '         natural gas to plaintiffs'Home;

            d.   By agreeing to    a   payment plan with Plaintiffs, and failing to continue to
                                                                                                restore

                 the natural gas service to plaintiffs'Home;

        e.       By failing to notiff Plaintiffs, during the Payment Plan Call that MER
                                                                                        either had

                 already or was imminently about to shut       offthe gas service the plaintiffs'Home;
        f.       By failing to notifr Plaintiffs, during the Summer Call that MER had shut
                                                                                           offthe
                 gas service the   Plaintiffs' Home;

        g.       By failing to notiff Plaintiffs, during the Mid November Call that MER had
                                                                                            shut

             offthe     gas service the Plaintiffs' Home;

        h.   By failing to promptly restore the natural gas service to Plaintiffs, Home, in

             response to the Emergency Call;

       i.    By failing to promptly restore the natural gas service to plaintiffs, Home, in

             response to the Customer Service Call;

55' As a direct and proximate result of MER's negligence and carelessness, on or about

   December        l, 2010, a pipe burst in Plaintiffs'   Home causing substantial damage to

   Plaintiffs'Home

56' As a direct and proximate result of MER's above-.described negligence and carelessness,

   Plainfiffs have been damaged in an amount in excess of $50,000.00, plus such attorneys

   fees and costs as allowed by the contract, or by law.
     CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 8 of 11




 WHf,REFORE, Plaintiffs, Margaret and Peter Elkin, pray for a judgment in their favor and

 Defendants, as follows:


        l.   That judgment be entered in favor of Margaret and Peter Elkin and against State Farm

             Insurance Company and Minnesota Energy Resources Corporation,            jointly   and

             severally, in.an amount in excess of $50,000.09,    *   more specifically proven a! trial,

             plus interest and such attorneys fees, costs and disbtrsements as are allowed by law;

             or alternatively

       2.    That judgment be entered in favor of Margaret and Peter      Elkin and against     State Farm

             Insurance Company, in an amount in excess of $50,000.00, as.more specifically

             proven at trial, plus interest and such attorneys fees, costs and disbursements as are

             allowed by law; or alternatively

       3.    That judgrnent be cntered in favor of Margaret and Peter     Elkin and against Minnesota

             Energy Resources Corporation, in an amount in excess of $50,000,00, as more

             specifically proven at trial, plus interest and such attorneys fees, costs and

             disbursements as are allowed by law; and

       4.    For such other and further relief as the Court deems just and proper.




Dated: December     /   /,zOtt          THE LAW OFFICES OF JEFFERY A MINTZ.LLC




                                        Attorneys lbiF?l-ainti ffs
                                        3257 lg'n Street NW, Suite 4
                                        Rochester,   MN 55901
                                        (s07) 424-2664
     CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 9 of 11




                                   ACKNOWLEDGE.MENT

       The undersigned hereby acknowledges that costs, disbursements, and reasonable attorney

and witness fees may be awarded pursuant to   Minn. Stat. ' 549.211, Subd. 1, to the party against
whom the allegations in this pleading are asserted,
   CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 10 of 11




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corrNrY oo       or#V,f[,
         Peter L. Elkin,   b{hg first duly swom,         on oath, verifies and says thathe is one of the

Plaintiffs in the foregoing Complaint, and that he has read the foregoing Complaint and knows

the contents thereo{, and that facts alleged therein are        tne   and correc! to the best of his

knowledge and belief.




Subscribed and swom to before me this

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Notary




     Notsry Publlc, Strtc of Na , Yotk
       Ouallfled in Queens County
         Rog, No.01HO6103144
   My Commlselon Explres Dec. 15,2011
     CASE 0:11-cv-03652-PAM-JJG Doc. 1-2 Filed 12/20/11 Page 11 of 11




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 cor.rNrY oF OL)4FD
                                            )ss.
                                    I   I   ), I

          Margaret    tt"$,f"U[k                   ou,, sworn, on oath verifies and says that   she is one of the

Plaintifrs in the foregoing Complain! and that he has read the foregoing Complaintand knows

the contents thereo{ and that facts alleged therein are true and correcf to the best of her

knowledge and belief.




Subscribed and swom to before me this

'f tryot Wa+tfu,zo1
by Margaret Elkin.




         ANNIE CHUISIiAN }IO
     Nol8ry Publlc, Shte of Nart York
       Quallfred In Queenr Counly
       Reg. No.0lHO0l031rl4
  My Commbrlon Expho Dco, 16, 2011
